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                          Ex. ‘4’
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 1   CHRISTOPHER P. BURKE, ESQ.
     Nevada Bar No.: 004093
 2   atty@cburke.lvcoxmail.com
     218 S. Maryland Pkwy.
 3   Las Vegas, Nevada 89101
     (702) 385-7987
 4   Attorney for Debtor
     Melani Schulte
 5
                           UNITED STATES BANKRUPTCY COURT
 6                               DISTRICT OF NEVADA
 7
     In Re:                                    Case No. 09-29123-MKN
 8
     MELANI SCHULTE and                        Chapter 11
 9   WILLIAM SCHULTE,
                                               Jointly Administered with:
10
     2704 SATTLEY LLC,                         09-27238-MKN
11   HOT ENDEAVOR LLC,                         09-27909-MKN
     1341 MINUET LLC,                          09-27910-MKN
12   1708 PLATO PICO LLC,                      09-27911-MKN
     2228 WARM WALNUT LLC,                     09-27912-MKN
13   9425 VALLEY HILLS LLC,                    09-27913-MKN
     9500 ASPEN GLOW LLC,                      09-27914-MKN
14   5218 MISTY MORNING LLC,                   09-27916-MKN
     CHERISH LLC,                              09-28513-MKN
15   SABRECO INC.,                             09-31584-MKN
     KEEP SAFE LLC,                            09-31585-MKN
16
17                  Debtors.
18                                             Date: February 09, 2022
                                               Time: 9:30 a.m.
19
20
      DECLARATION IN SUPPORT OF MOTION TO COMPEL DISCOVERY OF
21    SHELLPOINT MORTGAGE SERVICING AND THAT DEBTORS REQUEST
         FOR PRODUCTION BE RESPONDED TO PROPERLY AND FOR
22                        ATTORNEYS FEES
23
              PURSUANT TO 28 U.S.C. §1746 CHRISTOPHER P. BURKE, ESQ.
24
                           DECLARES THE FOLLOWING:
25
26            CHRISTOPHER P. BURKE, ESQ., being duly sworn on oath, deposes and says:

27            1.    That I am an attorney duly licensed to practice law in the State of Nevada.
28

                                                  1
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 1
      2.    That I represent the above named chapter 11 debtor, Melani Schulte.
 2
      3.    That on October 11, 2009, Debtors filed a Chapter 11 petition (“Petition”) for
 3
            bankruptcy and was assigned bankruptcy case no. 09-29123-MKN (Dkt. #1).
 4
            Debtors Melani Schulte and William Schulte (Deceased) filed their
 5
            bankruptcy schedules on December 1, 2009 (Dkt.#41). On Schedule B of the
 6
 7          petition, Debtors listed many properties, including one located at 1392 Echo

 8          Falls Ave., Las Vegas Nevada 89123 (“Echo Falls Ave.”).

 9    4.    That on April 23, 2021 I filed Schulte Motion for Contempt for Violation of

10          the Automatic Stay and Discharge Injunction and Failure to Comply with A

11          Court Order and the Confirmed Plan and for Damages including Attorneys
12          Fees against Creditors, Shellpoint Mortgage Servicing and Ocwen Loan
13          Servicing, LLC. (Dkt.#1334).
14    5.    That on May 12, 2021 Shellpoint filed its Response to Debtors Motion for
15          Contempt. (Dkt.#1342).
16
      6.    That on September 22, 2021 I served Shellpoint’s with discovery.
17
      7.    That Shellpoint responded on October 22, 2021, but had numerous
18
            objections.
19
      8.    That on October 28, 2021 I emailed a meet and confer regarding Shellpoints
20
            Objections and Responses to Schulte’s First Set of Request for Production of
21
            Documents and First Set of Interrogatories (Ex. ‘1’).
22
      9.    That Shellpoint Supplemented their responses on November 12, 2021. (Ex.
23
24          ‘2’)

25    10.   That Shellpoints Supplemental responses did little to satisfy the meet and

26          confer requests. Thus, I mailed a Second meet and confer letter to Shellpoint

27          on November 24, 2021 (Ex. ‘3’). This involved most of the same requests from
28

                                            2
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 1
             the initial meet and confer that were not satisfied.
 2
      11.    That I requested a response by December 3, 2021.
 3
      12.    That on December 10, 2021 I emailed regarding the meet and confer that was
 4
             Mailed out on November 24, 2021 regarding Shellpoints Objections and
 5
             Responses to Schulte’s First Set of Request for Production of Documents and
 6
 7           First Set of Interrogatories (Ex. ‘5’).

 8    13.    That I requested a response by December 17, 2021.

 9    14.    That Shellpoint Supplemented their responses on December 16, 2021. (Ex.

10           ‘6’)

11    15.    That Shellpoints Supplemental responses again did little to satisfy the meet
12           and confer requests.
13    16.    That on December 21, 2021, I briefing spoke to Shellpoint counsel regarding
14           Schultes Request for Production at her deposition.
15    17.    That on December 22, 2021, Shellpoint counsel sent an emailed regarding the
16
             request for production of documents. The email stated, please note we are still
17
             pending a response from Shellpoint regarding production of the Bankruptcy
18
             Procedures Manual. Our contact on the matter is out of the office for the
19
             holidays, but should respond upon her return. (Ex. ‘7’).
20
      18.    That to date no response has been made by Shellpoint.
21
      19.    That attached is a true and correct copy of the letters and emails sent and
22
             received.
23
24          I declare under penalty of perjury that the foregoing is
            true and correct to the best of my knowledge and belief
25
      DATED this 7th day of January, 2022.
26
      /S/CHRISTOPHER P. BURKE, ESQ.
27    CHRISTOPHER P. BURKE, ESQ.
28

                                              3
